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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 TAMER MAHMOUD, et al.,
                                                   Case No. 8:23-cv-01380-DLB

          Plaintiffs,
                                                   MOTION TO WITHDRAW
    v.                                                APPEARANCE

 MONIFA B. MCKNIGHT, in her official
 capacity as Superintendent of the
 Montgomery Board of Education, et al.,

          Defendants.



   Pursuant Local Rule 101(2)(a) undersigned counsel hereby seeks leave of this

Court to withdraw as counsel for the plaintiffs in this matter and for reasons,

states:

   1. Effective August 29, 2023 I will no longer be associated with The Becket Fund

for Religious Liberty.

   2. The client is aware of all upcoming deadlines and Plaintiff will continue to be

represented by Eric S. Baxter, William J. Haun, and Michael O’Brien of The Becket

Fund for Religious Liberty.

   3. Undersigned counsel therefore respectfully requests leave of this Court to

withdraw his appearance as counsel of record for Plaintiffs.

   WHEREFORE, for the foregoing reasons, undersigned counsel respectfully

requests that this Motion to Withdraw Appearance be granted.
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      DATED: August 24, 2023.

                                             /s/ Brandon L. Winchel
                                             Brandon L. Winchel*
Approved.    __________________________      The Becket Fund for Religious Liberty
8/25/23      Deborah L. Boardman
             United States District Judge    1919 Pennsylvania Ave, N.W.
                                             Suite 400
                                             Washington, D.C. 20006
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                                             * Not a member of the DC Bar; admitted in
                                             California. Practice limited to cases in federal
                                             court.
